                       Case
                         Case
                            1:24-cv-03210-JPO
                               1:24-cv-03210 Document
                                               Document
                                                      3 5Filed
                                                            Filed
                                                               04/26/24
                                                                  04/29/24Page
                                                                            Page
                                                                               1 of
                                                                                  11of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                                                                     )
                                                                     )
                                                                     )
        RYAN KOLAR and ARIISE PARTNERS,                              )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No.
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                GABRIELLE FITZPATRICK
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Gabrielle Fitzpatrick
                                           2 GOLD ST, APT 4504
                                           NEW YORK, NY 10038-4865
                                           NEW YORK COUNTY




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Adam S. Katz, Esq.
                                           Goldberg Segalla LLP
                                           711 Third Avenue, Ste. 1900
                                           New York, NY 10017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:            4/29/2024                                                                 /s/ P. Canales
                                                                                          Signature of Clerk or Deputy Clerk
